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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION


 STATE OF TEXAS et al.,                        §
                                               §
         Plaintiffs,                           §
                                               §
 v.                                            §
                                               §          Civil Action No. 7:16-cv-00054-O
 UNITED STATES OF AMERICA                      §
 et al.,                                       §
                                               §
         Defendants.                           §


                                            ORDER

        Before the Court is Rhonda Fleming, Charlsa Little, and Jeanette Driver’s (collectively

Putative Intervenors”) Motion to Intervene (ECF No. 101), filed December 29, 2016; and Putative

Intervenors’ Motion for Preliminary Injunctive Relief (ECF No. 102), filed December 30, 2016.

The existing parties filed objections (ECF Nos. 112, 113, 117) and the Putative Intervenors filed

Replies and Request for a Live Hearing (ECF Nos. 118, 123). Having reviewed the pleadings and

the applicable law, the Court finds that the motions must be SEVERED and removed to a new

civil action.

        Under Federal Rule of Civil Procedure 21, trial courts are afforded broad discretion to

“sever any claim against a party.” Fed. R. Civ. P. 21; Reid v. Gen. Motors Corp., 240 F.R.D. 260,

263 (E.D. Tex. 2007) (citing Brunet v. United Gas Pipeline Co., 15 F.3d 500, 505 (5th Cir. 1994)).

When considering severance, courts weigh the following factors: “(1) whether the claims arose

out of the same transaction or occurrence; (2) whether the claims present common questions of

law or fact; (3) whether settlement or judicial economy would be promoted; (4) whether prejudice
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would be averted by severance; (5) whether different witnesses and documentary proof are

required for separate claims.” In re S. Scrap Material Co., LLC, 713 F. Supp. 2d 568, 588 (E.D.

La. 2010) (citing Xavier v. Belfor Grp. USA, Inc., Nos. 06–491 and 06–7804, 2008 WL 4862549,

at *3 (E.D. La. Sept. 23, 2008)). If a court severs claims under Rule 21, the severed claims

“become independent actions with separate judgments entered in each.” Id. (citing 9 Charles A.

Wright & Arthur R. Miller, Federal Practice and Procedure § 2387 at 277 (1971 & 1990 Supp.);

3A J. Moore, Moore’s Federal Practice ¶ 21.05[2] at 21–34–35 (1990)).

         Putative Intervenors seek to intervene in the present case to challenge the housing of male

prisoners at Federal Medical Center Carswell. Put. Int. Mot. Intervene, ECF No. 101. Because

the present case deals with statutes protecting privacy in educational environments and

workplaces, not federal prisons, Putative Intervenors’ claims are inapposite to the present case.

Here, all of the relevant factors weigh in favor of severance.

         For the foregoing reasons, it is ORDERED that the Clerk of the Court open a new civil

action entitled “Rhonda Fleming, et al. v. John Doe” and copy the following to the docket of the

new civil action: (1) ECF Nos. 101–125; and (2) this Order. Putative Intervenors will be afforded

an opportunity to amend or withdraw their complaint in the new civil action. Further, Putative

Intervenors’ Motion to Intervene (ECF No. 101); Motion for Preliminary Injunction (ECF

No. 102); and Motion for Live Hearing (ECF No. 125) are hereby DENIED as moot in the present

case.

         SO ORDERED on this 3rd day of February, 2017.


                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
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